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           IN THE CIRCUIT COURT OF THE 15TH JUDICIAL CIRCUIT IN AND FOR
                           PALM BEACH COUNTY, FLORIDA

                                                                    CIRCUIT CIVIL DIVISION AD
                                                        CASE NO.: 50-2022-CA-009847-XXXX-MB

   KWAMAIN ONEAL,
        Plaintiff,
   vs.

   CITY OF RIVIERA BEACH AND
   JOHN VANDERLAAN,
           Defendant(s),
   ___________________________________/

          ORDER GRANTING AMENDED MOTION FOR EXTENSION OF TIME

          THIS CAUSE, having come before this Court on Plaintiff Demetrius Cross’ AMENDED
   MOTION FOR EXTENSION OF TIME and the Court being fully advised;
   Plaintiff’s Motion to extend is hereby granted in part; and
          IT IS HEREBY ORDERED that Plaintiff shall have 60 additional days from the signing of
   this order, to serve the Summons and Complaint on the Defendant, JOHN VANDERLAAN. The
   court reserves ruling on the issue compelling Defendant, CITY OF RIVIERA BEACH to
   produce JOHN VANDERLAAN’S residence address, mailing address, date of birth and social
   security number.


         DONE AND ORDERED at West Palm Beach, Palm Beach County, Florida.




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